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TRINA A. HIGGINS, United States Attorney (#7349)
TODD C. BOUTON, Assistant United States Attorney (#17800)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682
Email: todd.bouton@usdoj.gov

                                                                   SEALED
                          IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                        INDICTMENT

            Plaintiff,                             VIOLATIONS:

            VS.                                    Count 1: 18 U.S.C. § 371,
  NICHOLAS FRANK SCIOTTO AND                       Conspiracy to Defraud the United States
  KYLE BLAKE BURBAGE,

            Defendants.
                                                     Case: 1:23-cr-00023
                                                     Assigned To : Campbell, Tena
                                                     Assign. Date: 3/28/2023


       The Grand Jury Charges:

                                     Introductory Allegations

       At all times relevant to this Indictment:

       1.         Defendants herein and others known and unknown to the Grand Jury ran a scheme

to defraud the United States and the Centers for Disease Control and Prevention ("CDC") by

obstructing the CDC's COVID-19 vaccination program, whereby Defendants manufactured, sold,

and distributed at least 120,000 counterfeit COVID-19 vaccination record cards to persons to

undermine the vaccination program and facilitate evasions of public health-and-safety regulations

and protocols.
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                                                  Defendants

        2.        Defendant NICHOLAS FRANK SCIOTTO was a resident of Weber County,

Utah. During the COVID-19 pandemic, SCIOTTO started and operated an online business out of

Utah, whereby he manufactured and sold at least 120,000 counterfeit COVID-19 vaccination

record cards, mainly to persons in New York who were subject to tighter COVID restrictions.

        3.       Defendant KYLE BLAKE BURBAGE was a resident of Berkeley County, South

Carolina. BURBAGE knowingly purchased counterfeit COVID-19 vaccination record cards from

SCIOTTO to resell them and distribute them to others.

                                 The Federal COVID-19 Vaccination Program

        4.       On or about January 31, 2020, the Secretary of the United States Department of

Health and Human Services ("HHS") declared a national public health emergency under 42 U .S.C.

§ 247d as a result of the spread of a novel coronavirus to and within the United States. This

coronavirus was called SARS-CoV-2, and was also known as "COVID-19." On or about March

13, 2020, as a result of the rapid spread of COVID-19 within the United States, the President of

the United States issued Proclamation 9994, declaring a national emergency beginning on March

7, 2020. As part of the response to the pandemic, the federal government provided funding to

pharmaceutical and biotechnology companies capable of developing a vaccine for COVID-19.

        5.       On or about December 11, 2020, the United States Food and Drug Administration

(the "FDA") approved the Pfizer COVID-19 vaccin~ for emergency use. On or about December

18, 2020, the FDA also approved the Modema COVID-19 vaccine for emergency use. Each

vaccine was approved as a two-dose regimen.




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        6.       Then, on or about February 27, 2021, the FDA issued another emergency use

authorization (EUA) for the Janssen COVID-19 Vaccine. The Janssen COVID-19 Vaccine was

manufactured by Janssen Biotech Inc., a Janssen Pharmaceutical Company of Johnson & Johnson.

The Janssen COVID-19 Vaccine was approved as a single-dose regimen.

        7.       Consistent with these emergency authorizations, the Centers for Disease Control

and Prevention ("CDC") prepared for widespread administration of the COVID-19 vaccines, at a

variety of locations. The intent was to make a COVID-19 vaccine available to all authorized adults

in the United States who wanted to receive a vaccine.

         8.      The vaccines were made available exclusively through the United States Federal

Government. There are no third-party resellers of COVID-19 vaccines and no company or

organization is allowed to import COVID-19 vaccines from another country.

        9.       To make the COVID-19 vaccines available to authorized persons in the United

States, the government purchased millions of COVID-19 vaccine doses from Pfizer, Modema, and

Johnson & Johnson. The federal government determined that these COVID-19 vaccine doses were

to be distributed at no cost to vaccine recipients through the providers approved by the CDC to

receive and distribute the vaccine.

         10.     To further provide for the administration of COVID-19 vaccines, the United States

also contracted with companies to print COVID-19 vaccination record cards according to certain

CDC specifications. The United States required that the COVID-19 vaccination record cards

include a space to record the dates of the first and (where needed) second vaccine doses, and that

the COVID-19 vaccination record cards be distributed as part of the vaccine ancillary kits sent to

each vaccine distribution location.




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        11.      To facilitate the proper administration of the COVID-19 vaccines, the CDC and

HHS also developed rules and protocols for the entities that would administer the vaccines at

locations around the United States ("vaccine distributing entities").

        12.      These protocols required all vaccine distributing entities that administered the

COVID-19 vaccines at physical locations to provide a COVID-19 vaccination record card to each

vaccine recipient after they had received their COVID-19 vaccine.

        13.      To ensure that vaccine distributing entities appropriately administered the COVID-

19 vaccines and appropriately distributed COVID vaccination record cards, the CDC required such

entities to sign a CDC COVID-19 Vaccination Program Provider Agreement before they could

receive COVID-19 vaccines for distribution to the public. Among other things, these CDC

Provider Agreements required vaccine distributing entities to:

                  a. Administer COVID-19 vaccines in accordance with all requirements and

                      recommendations of the CDC and the CDC's Advisory Committee on

                      Immunization Practices;

                  b. Within 24 hours of administering a dose of COVID-19 vaccine, to record the

                      vaccine recipient's record and to report required information to the relevant

                      state, local, or territorial public hel:llth authority;

                  c. Not sell or seek reimbursement for any COVID-19 vaccine that the federal

                      government provided to the organization without cost;

                  d. Administer the vaccine regardless of the vaccine recipient's ability to pay for

                      the administration of the vaccine;




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                 e. Conduct its COVID-19 vaccination services in compliance with the CDC's

                     Guidance for Immunization Services During the COVID-19 Pandemic for safe

                     delivery of vaccines;

                 f. Report the number of doses of COVID-19 vaccines that were unused, spoiled,

                     expired, or wasted as required by the relevant jurisdiction;

                 g. Provide a completed COVID-19 vaccination record card to every COVID-19

                     vaccine recipient; and

                 h. Administer the COVID-19 vaccines in compliance with all applicable state and

                      territorial vaccination laws.

        14.      The CDC included COVID-19 vaccination record cards in each COVID-19 vaccine

shipment to a vaccine distributing entity.

        15.      The CDC intended the COVID-19 vaccination record cards to be used to reliably

identify persons who had received bona fide COVID-19 vaccine doses to facilitate compliance

with federal, state, and local government health-and-safety protocols and requirements.

                                                COUNTl
                                              18 u.s.c. § 371
                                 (Conspiracy to Defraud the United States)

         16.     The allegations in paragraphs 1-15 are incorporated by reference and re-alleged as

though fully set forth herein.

         17.     On or before March 27, 2021, and continuing to at least September 25, 2021, in the

District of Utah and elsewhere,

                                  NICHOLAS FRANK SCIOTTO and
                                     KYLE BLAKE BURBAGE,

defendants herein, did unlawfully, voluntarily, intentionally, and knowingly conspire, combine,

confederate, and agree together and with each other and with other individuals both known and


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unknown to the Grand Jury, with interdependence among the members of the conspiracy, to

defraud the United States by deceit, craft, trickery, and dishonest means for the purpose of

impeding, impairing, obstructing, and defeating the lawful governmental functions of the CDC in

distributing and administering authorized COVID-19 vaccines and COVID-19 vaccination record

cards through approved vaccine distributing entities.

                                          Object of the Conspiracy

        18.      It was the object of the conspiracy for the defendants NICHOLAS FRANK

SCIOTTO and KYLE BLAKE BURBAGE, and other individuals to unlawfully, voluntarily,

intentionally, and knowingly defraud the United States of America and an agency thereof, that is,

the Centers for Disease Control and Prevention, by impeding, impairing, obstructing, and defeating

the lawful governmental functions of the CDC in distributing and administering authorized

COVID-19 vaccines and COVID-19 vaccination record cards through approved vaccine

distributing entities.

                                   Manner and Means of the Conspiracy

        19.      Among the manner and means by which defendants NICHOLAS FRANK

SCIOTTO and KYLE BLAKE BURBAGE, and others (the "co-conspirators") sought to

accomplish the object and purpose of the conspiracy were the following:

                 a.       In furtherance of the conspiracy, on or about March 27, 2021, SCIOTTO

began manufacturing counterfeit COVID-19 vaccination record cards in bulk for sale to others.

                 b.       In furtherance of the conspiracy, from on or about March 27, 2021 to about

September 25, 2021, while in Utah, SCIOTTO printed out approximately 120,000 counterfeit

COVID-19 vaccination record cards that looked identical to bona fide COVID-19 vaccination

record cards which were issued by the CDC at the time.




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                 c.       In furtherance of the conspiracy, from on or about March 27, 2021 to about

September 25, 2021, from Utah, SCIOTTO sold approximately 120,000 counterfeit COVID-19

vaccination record cards to persons who sought to evade government health and safety protocols

by pretending to have received a COVID-19 vaccine without ever receiving one.

                  d.       In furtherance of the conspiracy, from on or about March 27, 2021 to about

September 25, 2021, SCIOTTO sold many of his counterfeit COVID-19 vaccination record cards

to persons living in New York to facilitate their evasion of local health and safety protocols.

                  e.       In furtherance of the conspiracy, from on or about March 27, 2021 to about

September 25, 2021, SCIOTTO mailed out or personally delivered approximately 120,000

counterfeit COVID-19 vaccination record cards to card buyers.

                  f.       In furtherance of the conspiracy, SCI OTTO primarily sold the counterfeit

COVID-19 vaccination record cards online through Facebook and usually charged approximately:

                           •         $10 each (for orders of 10 or more cards); and

                           •         $7.50 each (for orders of 100 or more cards);

                           •        Plus shipping.

                  g.       In furtherance of the conspiracy, SCIOTTO also knowingly sold the

counterfeit COVID-19 vaccination record cards at his wholesale prices to BURBAGE and to his

other co-conspirators, who then, with SCIOTTO's knowledge, resold or distributed the counterfeit

cards to others, at a time when the counterfeit cards had a market value of $50 to $100 each.


                               Overt Acts to Effect the Object of the Conspiracy

        20.       In furtherance of the conspiracy and in order to achieve the unlawful objectives and

purposes of their conspiracy, NICHOLAS FRANK SCIOTTO and KYLE BLAKE BURBAGE,

and others known and unknown to the Grand Jury, aiding and abetting each other, committed or


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caused to be committed the following overt acts, among others, in the District of Utah and

elsewhere:

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                                           SCIOTTO's Overt Acts

                  a.       On around March 23, 2021, SCIOTTO commented on a Facebook post

originated by another person that "I know someone selling legit vacc [sic] cards cheap for people

who don't want to partake in a science experiment."

                 b.        On around March 27, 2021, SCIOTTO used Facebook messenger to send

an image of stacks of CO VID-19 vaccination record cards to Contact 1.

                  c.       On April 19, 2021, SCIOTTO responded to a request to purchase COVID-

19 vaccination record cards with a Facebook message offering to sell "10+ cards for $10 each"

with a "10 CARD MINIMUM PER ORDER," plus $5 for shipping, and directing the buyer to

send the money privately by Venmo or Cashapp--both of which are mobile payment services.

                  d.       On May 14, 2021 and June 2, 2021, SCIOTTO mailed shipments of

counterfeit COVID-19 vaccination record cards to Buyer 1.

                  e.       Between on or about April 2021 through June 2021, SCIOTTO sold

approximately 45,000 counterfeit COVID-19 vaccination record cards.

                  f.       On or before July 23, 2021, SCIOTTO made a badge with his name and

photo to identify himself as a volunteer with Organization 1 (which was a major COVID-19 testing

company in Utah at the time) (the "Organization 1 Badge").




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                 g.        On or before July 23, 2021, SCIOTTO used the Organization 1 Badge to

convince a local print shop owner that SCI OTTO worked for a hospital and was authorized to print

out thousands of copies of COVID-19 vaccination record cards.

                 h.        On or before July 23, 2021, SCIOTTO used the local print shop to print out

thousands of counterfeit COVID-19 vaccination record cards.

                 1.        On around August 31, 2021 SCI OTTO posted on Facebook a picture of at

least four boxes full of COVID-19 vaccination record cards and stated, "Just tell me how many

you need. DM me."

                 J.        Between on or around March 2021 through August 15, 2021, SCIOTTO

sold over 120,000 counterfeit COVID-19 vaccination record cards.

                  k.       Through at least August 2021, SCIOTTO tried to conceal his illegal

behavior from law enforcement by changing every week the envelopes and shipping locations he

used to mail the counterfeit COVID-19 vaccination record cards to buyers.

                  1.       On or around August 8, 2021, SCIOTTO instructed BURBAGE that, in

order to make the counterfeit COVID-19 vaccine record cards look more authentic, he should

advise the counterfeit card purchasers to "handwrite in" the lot numbers onto the counterfeit cards

rather than use the stickers that SCIOTTO supplied to BURBAGE.

                                           BURBAGE's Overt Acts

                  m.       From on or before April 19, 2021 through at least August 28, 2021,

defendant BURBAGE knowingly purchased counterfeit COVID-19 vaccination record cards from

SCIOTTO and resold and distributed them to others.




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                 n.       On or about April 19, August 23, and August 25, 2021, BURBAGE caused

SCIOTTO to send him at least three packages of counterfeit COVID-19 vaccination record cards,

and BURBAGE received them at his home address.



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                 o.       On or about July 16, 2021, defendant BURBAGE sold at least 10 counterfeit

COVID-19 vaccination record cards that he obtained from SCIOTTO to others.

        All in violation of Title 18, United States Code, Section 371.



                                                      A TRUE BILL:




                                                       FOREPE!~J         OF GRAND JURY

TRINA A. HIGGINS
United States Attorney




Assistant United States Attorney




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